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                       Exhibit 1
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         6.      The United States and Mr. Biden, individually and on behatf of rhe affiliated
  businesses, understand and agree that nothing in this agreement shall operate ta revive any claim
  that was barred by the stslfute cf limitations prior to July I,2*21, and that Mr. Biden and lhe
  affiliated busi$esses restrrve the right tCI assert any statute of limitations or other dEfenses that
  were available to thern as of that date, The pafiies further agree that the act af entering into this
  agreement does uat canstitute an admission by Mr. Biden or the affiliated businesses of any fault,
  wrongdcing, or liability or to the existe*ce of jurisdiction over any acts sr omissions of Mr"
  Biden. Neither this agreement nor the substance of its contents is admissible as evidenca for any
  p$rpose in any proceeding, exeept a proceeding iuvolving the applieati*n or interpretation of this
  agreement itself.

         7, This agr*ment constitutes the entire sgrcement of the parties and may only be
  msdified in writing signed by the parties.

                                        DAVID C" WEISS
                                        Uaited States Attorney
                                                     of
  llelruzt                       By
  DffiE--                               Lesley F.
                                        Assistant United Sktes Attorney

                                        STUART M. oOLDBERC
                                        Acting Depufy Assistant Attorney General
                                        Ta,x Division
                                        Unired States Department of Justice


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  DATE
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                                        Mark F. Daly" Esq.
                                        Senior Litigation
                                        Department of Justice. Tax Division
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  l lzu t-z.t                   By
  DATE                                  Robert H, Biden



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  D.A,TE
                                By:
                                        .Affid&-
                                        Robert H. Biden on behalf of Owasco, P.C.
                                        and


  \figl zt                      By:
  DATE                                              CIark,
                                        Counsel for Mr           Owasco, P.C-
                                        and Oruasco
